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_ Foc The Eleventh Circnt
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Dt. Docket No G6: 1Y4-cr-00033-DA-KRS—|

VES S_ i er ar
_ STOMATHAN. TYLER PRIVE ee a
_DeFeadeand - Appellant

PETITION FOR REHEARING
_EN BANC

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__* Dsaie! Mi Beodecsan ——_ 1328 East Bath Sheouk
_Cead achlorney.) _—Odlanda, FL 32803 .
Cuda Prom case) Phone: (407) (44-0007
A aPeser ablocaty ) Fax: (407) 649-0017

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_Chefeadaat= Appellant) 860 Camp Road

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onation to wtthdeats pocsnant to his Anders Brie€ afficeaing ay convichion and sentence, and
deay/ng, omy oastion fo_appaint Netw. Comnsele

EL}. lewe that there were several issues which ere eH overlooked ar misapocehended

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my Kesponse With Zacorporated Motion +o Withdeaw, which was ucitea in response. bo the
wBrementionnd Andecs Boel On Jaavary ye DOlle, that fresponse was tiled by the Chek,
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LE beliewe Hrat tre pane decision t¢ Conbrncy dn ths. ca) llawing decisions wh the. Supreme
Conct of the Yatted Steles aad the precedents of this _ciccwit, and that considerat'er by dhe
Celt tamed ts eCESSACY to secuce and matatain wnitareity at _decistons_in this conch:
Bond ww United States, 134 S.c+.2077, 184 Liéd.ad ) Colt): United Stades v. Lapee, $14 WS,
544, WIS Sch Ibay (1945), United Stabes vi Morrison, 5a US. S98 |Ao 3.c+. 1740 (ao00);
Jones vi United Stetes, 524 0.5. B48, 1a0 S.Ct, 1904 (9000)' United Shades vi Bass, 4o4 US,
33692 5.4515 C97); United Shebes w Batcheldes 4a ws. 114, 99 Sch alae C1474);
West Viewiata Vanvecsitn Hospitals Dac Vi Casey, 444 U.S,.83, II] S.Ct 138 G44, Union
Bank a Wile $2 U5, IS) JIA Sch $37 (isa); United States vi Williams, 553 us. 285,
198. S.Ct. 1830 (A008); United States. Odom, a5 F.3d. 1a89 CIM Cir, d001); Uaited _
Stoles wi Gram, d60.F.3d Jab7 (a0 (lI"* Cir); United States ve Wayecski, babi Fi 3d.

 

 

 

 

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v. Ballingge, 312 6:34 Jace Ort Cie, Aooad; United Sates v, Muccell, 3648 3d 1283 (I
Cir, 2004); and United Stales vi, Ballingess 395 £3d Jala (il Cr, 2005)Cen banc.

=r belteve- Ihe shales Le holdings. in thesé and other CASES, this appeal. Involves Sewcal
questions of exceptio nal importance, Araong these. questions are; GO) Whether the
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joelsdt tctianal hook af 16 UrS.Co SA4RRC) ' 1 Ay foes ity oc means of \aterstate or

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necessacil agus at its eeeaning and difPec as te_its applicad' on, thereby by deny: aq

dne-process undtr the BEM. Amsndeand (2) bthedher, pucsiaak ty lal States Vi

_Lepez, $M Us. 544, 115 5iC+ 1624, and its pengeay, Congress may cequlate the ach iz
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an innlawtil sexnal act whea sald pecsuasion, Unducement enticement ar totction, 1s
not “Wn or afPectiag” intecstade commerce, and Whtn the plain text of |B USC. SA4ARC)
does nat prohibit interstate activilres, oc the use of channels or iastroumentalittes of

—inbecstabe cammecces (3) Whedher IB USC. $2402(b) impecmnissibly albecs the balance

of federal and Shale éciminal juscisd baat 2 ateewapd qt cegulacte Something aleeady i
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intecpretatton, displact bag. pali decisions and +the presecitocial discretion of He Stete
of Florida.
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Constitntional concerns ivhichm ight cesult in a drastic dopactuce from the standacds
of law esteblished by beth the $ Supreme Conc ok te Uitled Slade nnd dn JP creel
Couct of Appeals. Bath concts have stressed He importance of. prrserving the delicate
balance between Gedecal aad Stale authority, and this couct hes a substantial intecest
in tnsncting tonto. application of the Jaw, and_in presecviing those rights alParded by
We Conthnlndton. “The Cane) glen haz an tndeceed: on ensuring that priac pceced end
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As Hee statube ab issue in tos case is based on aa exercise of Congcess’ Very limited!
ably to cequlate Aon-economic_activilies, andas the statute May be based on_iavalid —
legal awtheri-ty. pucsnant to Lopez, and because of He need to maindeta tre Lederal—
Stele balance, the Couct should examine the issues of law ty debecming P $2422 Cb)

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USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 6 of 21

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Stedes ve Gea, 260 F.3d 1067, 1a271Cl™ Cic, 2ool), His conck said "he intecpcetation

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F.34 487 958 CI Cin, 19949)_and “Constifihional tty of statutes is reviewed de novo. United

___Stales vi Osbinca, 955 F.ad [500 (I Ci, 1994)\ See also, United States vi Hunt, Sabi 3do oo

734,743 (Ul Cir, 2008)( Ln regacds bo a. due process challence, the Conctsaid Lille review.
— sucha constitecional challenge de ove. )C, grating United States v.kaight, 490 F.3d 1268, 1270

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ml Fo challensing. FAHAACY's Conshitictional by under te Due Process Clause, Fused the

 

__ It Cretan peecedeat From United States _v. Havecsk, 634 F.3d 1342, 1347 (ll Cx doo),
— juhich held Het “DAagneness. is a abctgrotsth of the EP Amendment's Die Process Clase,

United States v. Uilliams, $53 US, 285 304, 128 S.Ct 1830, 1848, 120 L.Ed. ad $0 (2008),

Et encompasses actions. of Lave wacaing,. Such that people of conman intellect Maw cael

a tundecstoad. a statute's prohibitions and need nor Gness at its meanings Set alsa, Vatted
States viHwat supea, 526 F.3d at LHS, which steles:” The F:P+), Amendments. Due

_ Process Clause harbors within tts Scope the nebion of Farr. bi&ening: a stetite cannot be

enforced “ie ibis so. vague that vehacek camman intelligence oust NeleS$4r1 ly Hess at

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_ its meaning and AFL er as te tks application, United States v. Mena, 263 Fad 152A, 16a7
UI Cin, 18D GQuehing Connally vi Gea Constr, Co, 264 US. 385, 34, 46 5.Ch lab, 12% ___

__ To Lied. 332 (1926). ca | 7
_ Dastice Scalia, Conte chag in. Bond v. Daited. States, 134.5,CL, 2077, at 2047 Geld). Said:
_ "A ccieainal. statube oust cleacly dekine. the conduct it prosccibes, te ‘+ does aat ' give a

__pecson ot. ordinary ‘abelliqtnce fie ating of ibs Scope... it denies due peocess.— Cqueliag a

United States vi Batchelder 4u2 U.S, 14, 23,944 SCt 2148, 60 Led. dd 755 (1979,

la 5.06. F949R(bY does not cleacly describe the condiet which + prosteibes, or its Scope,

leaving a _pecsan of ocdinacy Wt lisence fo_9uess at both, and dP as de the application: ao

_ T+ key jnctsdlctional hooks, tn any Facility Or MELaNS. af interstate or Foceign Cormmecchs. oo
USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 7 of 21

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is not detined ia F2A422Cb), aad this concts pater CASES AS Well ws these of the Supreme. SS

Cauct hawt: held that alan deren used ina Statute ace wadefined, hating ee Hedin Pyare ordinary oe

eneaings. (Denes vi United Stales 524 (15. 843, 855, ldo Sct. 1404, 1410 (a02))gnotiag en eee

Asacou Seed Cov bhiatechoes, $13 V.$.124, 187, 1S S.Ct. 778 (1445))..

 

“The ordinary eaesaing, of “Facility” is a building, ora physical location. Nobody, “in.lightt ee
common wadecstanding and practice, United Stades.v. Hin, bade F.3d 734, 743 C1" Cie, 2008),
— Lawld ceféctaatecility as anything. else, yer the unacthodar application ade thet- Fecon te cover things spe

Tike the indecacd arcell phones 1S Wsed by prosecwtocs to obtain ConvichioaS,. theceby deaying dive
: process becanse of the Hilace: 1, provide. fair notice of the much broader ceach Alia te it cs
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‘Arabia itty CONLEcAMe the ambit of ttimisal | statibes Should be resolved in Ciena ey ea... es

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id, at $58, 120 Sct ab glad goby Rewis v United States, Yol. US. 608, 612, 72 5.t4.105b); See also,

 

United Slabes v. Bass, U0 Ws. 336, 4a S04. 515, 5a3 (1929C haldng Thad “where theee is aonbignity
inaceimiaal statute, dawbls ace.cesalwedd ta Gacoc of the Vadek This, une musd- conclude that
the term “Encility’ ie Lacon Sfi-tustonal ly vague, Since the Scape of the Statute’s lsage fac exceeds
the acdinacy meaning, thet Jones.and Aggcou Seed Coy, supre, 513 U.S. at 187, IS Sch 288, Say
Showld be applied 4 the. plain language,

The second half of Hue} wetsdichional hook challenged as lncenstitictonally vague.
je bg ees. of inbecshate or Feceiga commerce. “This tece, then given its ecdlnacy aneaaleg
in accocdence with Asgrots, td, aad the II” Cicenit touchstone of the “common. uadecstandling

and practice Set Gdn ia Hunt, siore, means "Something used to accomplish a. geal Litecally
onwthing tothe World could Guachion as a.means cb intecstale commecte. Nowe own vaiceiS a means —
af intecstate commecce if it ts used to achieve the Spa oF commerce, af 36 a_papte and pén, a cell.
—phent,.or ete. a Shell Grom the beach, shonld yor bey and sell Ht or -tradeit The teem can
encompass Litecally aqythin oe anyone, and +s enticely Subsective, allonsing Poca geet deal.
0 dobbs te hal it includes, Thus, th Fails to give Fate aobice of exachy what the
statute peohibits the s20f in cegacd. fs its. substaative prostciption, and violates due process.
USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016

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But what of the assection by the Goveenmend-thatthe term. iS Mok waging adel’ bpd SF

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pectectly dear! Black’s law dictionary defines ‘means asi |. Available cesoncces, <p, for Hue
_paryatak of debt” ox Bs Something thal helps tr abtain an ead Either way the term ts held, —
lherhen “Vaag uc” or Cleac’ the meaaing is the same, We are shill ced with the inescapable
ules thal a “Facility, oc means_of Interstate. ax Forcetgn iensinithte ‘S$ Lunconshitntronally Vague,
as “Facility” tensed ta uays that defy commen uadtcstaading and “means” can still “— an
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thee to. necessactly. ness ah its Scope.

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_ [a8 S.ch 1830, 194¢( 2008)

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a ei cstuilitle Dscriaa 0g Fach tk establishes has vraielel allan Oo
nS Heat Fret is, Thus, we hawe studs down statutes
thal bred cctesinal culpability te whether He defendant's conduct was. “annoying 96. oo

“indecent” — > bhally Sh p jective. woe without stetudory definitions, naceaning..
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_ Whethec or net the sub sect is being ised. for an economic purpose, ar whethec this used “Meer

; abfecking commecte, the main \uectsdrctrona| element here becomes mece Surplusage 5 having
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weenie twill no doubt be segue th that tthe 15 Shadite’s_ jadi cial hook is aot tk uncansttebnliy
USCA11 Case: 15-120382 Document:44 Date Filed: 06/24/2016 Page: 9 of 21

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. Waghs, bud He results Speak for themselves. The Government ill undoubtedly Say F24220)

isnot tabended to cegulate Vitek ye comm nile pecsrade, induce, eatice, oc coerce a
mina, bot the Cecd- Yaad he plain lang case bould cea such Flstags ie the inescapable .
_tanclusion We ace le€t te confroat

Quoting again From Williaens, id, 553 US. ab 294, 128 5.Ch 1834: Meanings act naccowed

bsy the (onmantinss. Catngn, at anetitur aseciis — which counsels that a ware 16 given are

precise content by the neighboring wacds ishich tis associated with. latoctnaattly, the only panes

__ dive Fiag association is that the “means is capable of helping accomplish iatecsdoade ac Fareiga.
Commercce,__this shill leaves Youe Ouia Voice. as a means, Dushice Steers, con chering. ta

Wiliams, tdi act 244, 128 3.c4. 1942, tells ws Phot “every rensonable constructrm must be resorted

 

te in order to save a statute Prom unconstitutional Hye (Quoting Hooper ve CaliPoeata, 15 Vis.
648, 657, 15 S.tt. 207), Howevec “the maxian tad statutes should be construed te avoid
Constitutional questions ofCecs ro assistance heee. This” ‘cacdsaal peraciple oP Statutory
consteuctonns 1¢ appropciate oaly when Lan alternative intecpretation]_is ~Faicly possible”
Com the language al the statute.” Cuniled Stedes vv Batcheldee, 44a.us. IU, Jaa, 44 5th

__ 2193, 2902 (1979) (quoting Sivain ws Peesslew, 430 U8: 372, 378 all, 92 5.ch laa4, 1228
(it72)),

LP the term “wenas” ¢ nat waco stitutionally Vag, as the Covecamend pould Suggest,

 

and daly onc \Atecprebation js possible, then We mustadhece to the sipceme Coucks Coslings .
tn cases like est Virginia intvecstty Hospitals, Face vi Casey, 444 0,8, 83 94, ILLS ch.
1138, 49 (1441), phuce Hus seid Heat “where, a5 het, the stabvetes leas nage 1s Clear, "the
Sale function of tre comct is to entorce it according +s the Serene,

This leaves us with a statute ivhich, by its cleactecess, cegulades the stri¢Hy aan=
economic. intrastate ackivlstiy af pecswasion, inducemeat, enticement, ar Coercion, uithont aay
connection te interstate oe Farerey' commerce at alle 18 0.5.0, £A42A(b), by betil izing the
Ubiquitons “means, Whtth iaclndes evecything which might possibly. be used to achieve interstate
Commerte, theceby deans forms auecy Single sex oF Rast intoa matter Re Reel enFoccement,
USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 10 of 21

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mately upan the showing hat aa individual under te age of 18 vas involved,

Both the ordinary etaning and the deFinthion of “means ace plata, but ‘plain’ and Vagie’
are (ot ructwally exclusive in this case, That te word hes a genecally accepted anenaing does
rok mean thet what it cefecs te is suPEicrently aaccouto Keep Fram being waconstitationall
Vagnt,as.Shoun by the. Sinpreme Comct’s. Striking of Stadudes that tired cciminalcul pability

ty. Aanoy ing © oe indecent” Conduct, cefecced to ia Williams, Suprn.

 

The use of the speciric tecmy, “Bs frscility seed ol Vlenthale tavanececen, alse. giwes.cist il
te the uaconshidintional execctse of Congcess ‘power ta regulate commerce. a
wm Thhact a eel= bd Congress may not have forseea all the consepuinces of a Stachutery enactment
‘Snot subtrecent ceason foe ePusing to. give ef tect to its plain menainge Uaton Bank.v. Wolas,
$02. ns. /5L i588, lla S.Ct. 527, 53! (1171) quoting Tetbh ve Radlo£F Sel vs. 157 164, Ill Sct
AlQ7, 2201 116 L.éd.ad 145 (aq) Congcess did not Know, when they passed 13 U.S.C. $2404)
thatthe Supreme Comcl’s laadmack culing in United Stales v bepez, S14 0.5. $44, 11S $.Ch
G24 (1495), wold theeaPter Irmit the constitutional exerctse of Congress’ Commerce Clase

 

Powe +o the thee. cabegactes of ‘channels, ‘Sastrumentaloelies, and ‘achwitres uhech Siubstentinlly a

abPeck indarstate commerce. ; :
Congress could not have kKnawn thet the language they used in enacting $2422Cb) Wonld be
used to make inceads indo aceas af traditionally held Shale criminal jmcisdiction, oc tat the
Constitutional cequicement that intcastate non-economic activities ons by themselves,
Signi Ercoucly afFect interstate commerce wanld be cleacly established atte the Stetute's.
Cractment tHheceb lavalidacing b, a a
Congress could easily have enacted. a shabwbe with difPecendjucisdictional elements.
Thay might hare. used the tecms.“Wsinge & channel or iasteumeatalty of iatecstete_oc Faceign
commerce, oc included the cequicement thatthe prohibited activity take place “ia or ablecting”
cornmeccty buck they did aot: They chose, instead, +o enact $24 Aa) with te mach mere
limiting langnage say Facility me_mehas., and pit act bound by Hat more Ceddrtelive language.
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18 OnS.C. $242a2(b) reads asfllowss

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_ Commerte, oc Lithia the special macitime aad teceitecial sweisdiction of
the United. bed States, Knowingly. pecshades, induces, entices, ar coecces Ang

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a jst because th §5.4 Facility" on'means of intecstate Commerce. The sionple fact Hrat Someth: ng
‘Sa means of tatecstate commerce, withoit tt mild, nsed Foca commecctal activity, does doe

a give. Congress. Hoe abiliky to seg ie galll oar irene bites Hr ronan cco a al lo cs

bord _staeral cequiation of Stale activities, See Maculand wv. Wictz, 3942 .Ui5.183,192 0.

  

27, 83 $.C4 2017 (1968) (the Constitud-ion does nat pecmit Congress ta usec Celabively a

trivial impact on commerce as aa excise Fer beoad — regalaction of Shade or private

acti v ue es),
_ As this Conct held ta Uatted States v. Odom, 252. esl.) 1284. (2001) allaucing. He
igs to meet Hue hatecstale Comm ech regaicemand theatgh only a Aariaal Shot sig of ee
USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 12 of 21
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a conection to tatecsdate commecte Would do as much to “completely oblitecede” the a

distinction bet ttn national aad local authectty ass t no jucisdichional ceguicerreat existed. ig

ofall” Thece 15-10 question Haat He mere ust of me means’ of commecte,_twithent aay economic

impact, and even thas. it may aly be fessible te use it Pe Commecte, isan wadeniably Tnomingl
Showings What's mare, the com also specified thet “a Rdecal sdatute ras; regulate paced es

intrastate activity, oly ‘ELE ceguletes economs'c ahidy. Vaited Stades v. Maccrson,

$24 35. $98, lae 2+. 1740, 1250 (a00e): Ualted States Lopez, S14 U8. $49, 559-Sél,.
AIG 3.44. 1624, 131 L.Ed. 2d 626 (1945).

 

18 U5.c. $242acb» theceface violates both the haldiags oF this cout in Odom, Supt,
aad the cusling by the Sixpreme Couct ta Meocci$on.and Lopez, T+ neither cepuires, nar oes, —
any Fucther Showing of a connection te commerce avaiiaas
$a42a(b) does not sey Had is a coimete use cn insteumeatality ar 6 chanael of
Lompnecté ducing an tacident of persuasion, inclucement, enticement,.oc Coercion. Lt
doesnot make ita ectme do Communicate by transmitting dats over skate lines Lor tha.
pucpase, ether, Twill undoubtedly be acgned that this is exactly whetthe shabube is
antart +0 do, and that the Congressional aiacpose. ia eanching Fa4aach) must prevail —s
over the ordinacy meaning of the Statutory decors. There will nodoub+ be quotes From
_touse and Senate. cepords, and statements From legislators tho debated or supported the
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USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 13 of 21
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Savy The plain death haut sesd- cegulate Channels oc MaStrumentalitres of intestate commecte,
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USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 14 of 21

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—atsthacity.isadec the Commecce Clawse to. a general police power of the sort redamed ly. a
the Stabe United States wi Ballinger, 21A Fi3d_1a64 Ct Cr, Aooa) ees Lopez
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ih situations (where te Govecarint discegacds state prosecistori ol desecetion. “The Sitnatton —

we ace then Laced uith a situation neacly identical to the one Faced by the Stopeeme Come
in Bond v. United States, 134 S.C+. 2.077 (2014), There, as here, the conch had de
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— State ha alceads, madethe deci sien not to presectte hee undeca Similac State Inui
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USCA11 Case: 15-120382 Document:44 Date Filed: 06/24/2016 Page: 15 of 21
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a ap
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how acoimnal law like this May eFbectuely displace a policy choice made by Dice Sale)
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18 D.s.C. §240.20b), Hits case also deals with an issne of the federal Sevecament- “displacing”
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_ alceady. govern We conduct in Hus case, suchas FL Statutes £847, 013 Celading fo .
_compuchec times genecally), § 847.0135 (3) (solicitation oq child, vie computic secvite, 2
commit an walewbul sex.act, $800.04 (lewd and lascivious conduct), etc The Shale enon
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—phblic palich, of the State of Flacida that L dy not belang-ta prison fora Commercial $64 abh
“The test of $2422.06) allows foe many such situations, For example, if an l8 yeacold detindant
lasing a cell phone Ca means oP tater state commerce) te text their Teac old sweetheart and accanges
to meet aFlec Schaal with the atention of engaging in.any Sex nalactivilres, the 8 yeac old Cowld be
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and lascivious molestatian, or ewe charges af “Stabicdory cape, La today's world, many teens betwreta
the ages of 14 and IT ace beginning fo explore their secnality, and maay.of thee engase. tn acktuities
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teens te prison Farr Sich things The victwally boundless \adicial clemvnt, aay Faciliby 2 means,
USCA11 Case: 15-12032 Document:44 Date Filed: 06/24/2016 Page: 16 of 21
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cendtrs each and every ane of them liable to prosettion under 18 (5.0.3 Q4anth),

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- commonsense. |imiting Josngunasys that Cepnices an. offender tr be aver 18 or even Charged tatty

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Stalichory enactment ts nok sufPictent ceason force asing, do_give effect ty its plain meaings a
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Ctiminal condnch, and ifit impecmissi bly alters the balance belween Fedecal and Stale criminal
cyecisdichioa: Fax these reasons alane, $A4a2(b) mush be clasely examined by the fall conct, and

its constihtional issnes cesolved, butalso becanse itis the statute open which the. Conviction
and sentence in this case cests, CL Fd4AACb) Js Bund dy be Invalid becanse of these.
USCA11 Case: 15-12032

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_tssines, then the canvietion and Sentence must be vacated, and the Pedecal Govecameat — .
_nobified that Hie loss is avll aad void, deaying the Couct sucisdictioa wade AUS BAe. _

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Which were of the Greatest. impoctaace. to the Couct in considecing uhether to gonad. reheactes.
én bands That is notte sary that DL wish + abandan these contentions L raised ta pag
__ Response With Lacecporated Motion to Withderw, filed ta cespanse Pony prior conasel’s Anders Beith,

—oweues as the issises alceady decailed ace the. basis Far gromad.s 1,2, 3, and 8 of the
Response, L carsed trem ta srester detail,

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I) Z beltew. that omy motion wade Rule IAG) (6 shonld hawe been geanted as. a.ratter of Jan.
2) For tre ceasans detailed im this petrhion far ceheactag en banc, T belreve 18 USC $2492Cb) is an
bacanstititional law, aad thoreface. I plead quill, to conduct that cannet Secve os an of Feast against
Hye Vatled Stabes, Warcaating a ceversal of conviction and séatence.
3) Becansé an error of law is anabuse of discretion pec se, Alikhaatv. United Shales, 200 63d.
732,734 Cl Cir, 2000) Br the ceasens detniled in thes petition, L believe the law cleacly
Shaws SAUAACL) to be invalid, and thecefore Didge. “Soha Andoon committed aa abuse oF
__ disecetion ta denying etsy. teach on. under Rule |2(B)(3(b) in disterct courte
4), L believe that thece was exchlpatory evidence withheld From mne.on. my discavecy, hich
Was a Brady violation, denwag ere due process.
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had been withheld, once-he Was made aware of the possible dis covery Violatrons, thecelay
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6) X believe Dudge. Antoon abused his disecetion at the evidentieey heachng onthe eerian. ts

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USCA11 Case: 15-12032 Document: 44 Date Filed: 06/24/2016 Page: 18 of 21

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[DO NOT PUBLISH]

IN THE UNITED STATES COURT OF APPEALS

FOR THE ELEVENTH CIRCUIT

 

No. 15-12032
Non-Argument Calendar

 

D.C. Docket No. 6:14-cr-00033-JA-KRS-1

UNITED STATES OF AMERICA,
Plaintiff-Appellee,
versus
JONATHAN TYLER PRIVE,

Defendant-Appellant.

 

Appeal from the United States District Court
for the Middle District of Florida

 

(May 24, 2016)
Before WILLIAM PRYOR, JORDAN and JULIE CARNES, Circuit Judges.

PER CURIAM:
USCA11 Cageagé- 180280320 0qyme Riad: osPalediled: HUgd'DE62 Page: 20 of 21

Daniel Brodersen, appointed counsel for Jonathan Prive in this direct
criminal appeal, has moved to withdraw from further representation of the
appellant and filed a brief pursuant to Anders v. California, 386 U.S. 738, 87 S. Ct.
1396, 18 L. Ed. 2d 493 (1967). Our independent review of the entire record
reveals that counsel’s assessment of the relative merit of the appeal is correct.
Because independent examination of the entire record reveals no arguable issues of
merit, counsel’s motion to withdraw is GRANTED, and Prive’s conviction and
sentence are AFFIRMED. Additionally, Prive’s motion for appointment of new

counsel is DENIED.
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Leen deposited in he Bremacd ae Jail’s Internal milias System
and properly addressed to:
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And Andrew Or Searle
Les. Abtocney's OFD: ce

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dando, FL 3289!

 

 

—Jaaathan Te five

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Cocos, FL 32427

 

 
